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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
       vs.                                    )      Case No. 05-40095-03-JAR
                                              )
CHUN XIOA YUAN,                               )
                                              )
                       Defendant.             )
                                              )

                      MEMORANDUM AND ORDER DENYING
                 DEFENDANT’S MOTION TO SUPPRESS CONFESSION

       Defendant Chun Xioa Yuan moves the Court for an order suppressing his confession

made to law enforcement officers and requesting an evidentiary hearing (Doc. 61). The

government has responded (Doc. 63). An evidentiary hearing was held August 14, 2006. The

Court has reviewed the evidence and the submissions of the parties and is prepared to rule. For

the reasons set forth in detail below, defendant’s motion is denied.

       Facts

       Defendant is a citizen of the People’s Republic of China, and is in the United States as a

legal resident alien of Canada. His native language is Cantonese and he speaks no English.

       On June 27, 2004, two Chinese nationals driving a black Lexus were stopped on

Interstate 70 by the Russell County, Kansas Sheriff’s Department for a traffic violation. As the

deputy was about to conduct a consent search of the vehicle’s trunk, the driver, a woman named

Cui Qin Zhang, drove away at a high speed, with her passenger, Shao Mou Chen. The two led

the deputy on a high-speed chase that ended when the vehicle crashed. Zhang and Chen were
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thrown from the vehicle, as were quantities of controlled substances. Troopers from the Kansas

Highway Patrol investigated the accident and searched the car, finding fifteen kilograms of

cocaine and 69,482 dosage units of ecstacy.

       Zhang was charged with drug-related offenses from the stop and the accident. The case

was tried to a jury and Zhang was found guilty and was eventually sentenced to fifteen years in

prison. Chen pled guilty to similar charges, testified against Zhang at trial, and was sentenced to

81 months in prison.

       On December 28, 2005, defendant was indicted for conspiracy to possess and distribute,

and possession with intent to distribute, the drugs found in the Lexus driven by Zhang, as well as

for 139 marijuana plants. On January 6, 2006, defendant was arrested at the Los Angeles

International Airport (“LAX”) as he disembarked a flight from Toronto, Canada. Defendant was

arrested at approximately 4:00 p.m. on a Friday afternoon, and immediately transported to the

DEA offices at the Roybal Federal Office Building in downtown Los Angeles, where he was

interviewed.

       Detective Ed Sun, with the Los Angeles Police Department Internal Affairs, participated

in the ongoing investigation of a Chinese organized crime group related to the Zhang and Chen

case. According to discovery materials in this case, both Zhang and Chen were acquainted with

defendant. Zhang and defendant had, in fact, been romantically involved sometime before the

accident, but had ended their relationship prior to June 27, 2004. Detective Sun testified that he

was familiar with defendant, who was in “constant contact” with Zhang via phone calls while

she was incarcerated pretrial. Detective Sun testified that in the phone calls between defendant

and Zhang, she spoke Mandarin during the first 20 to 30 calls; defendant switched to a different


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dialect that the detective did not understand.1

        On January 6, 2006, Detective Sun received a phone call from DEA Agent Randy

Osborne, who informed him that defendant had tried to board a flight in Toronto, but was

detained; he missed his flight and was on a subsequent flight to Los Angeles. Agent Osborne

was arranging to have defendant arrested at LAX on a Kansas arrest warrant issued after the

Indictment brought against defendant.

        ICE Agent Rick Mann detained defendant on the plane after it landed and transported

him to the Roybal Building to be interviewed. Detective Sun, who is certified in Mandarin,

conducted the interview. Detective Sun asked defendant if he spoke Mandarin and defendant

replied “yes.” Detective Sun testified that defendant was calm and cooperative and not

unusually tired or scared. In their initial exchange, defendant had no difficulty communicating

and never expressed a preference for another dialect. After he obtained basic booking

information, Detective Sun took defendant to an interview room, where charts, graphs and

photos of the alleged crime organization and the people involved were displayed.

        Detective Sun had defendant sit in the interrogation room alone for 15 to 20 minutes,

then returned with another detective and two DEA agents. Detective Sun gave defendant a

Miranda waiver form provided by the DEA, printed in English and Mandarin. He read

defendant his rights in Mandarin and defendant signed the waiver form. At first, defendant was

evasive and denied being involved with the organization. Detective Sun then explained the

evidence that law enforcement had against defendant, including surveillance and the jail calls

from Zhang.

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          Sun testified that there are three main Chinese dialects: Mandarin, Cantonese and Fou Jou. Sun only
speaks Mandarin.

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       Defendant asked for a cigarette break, then said he would tell the officers what he knew.

Defendant told Detective Sun that he was traveling to Los Angeles to party with some girls, as

his wife had just lost a baby. Defendant told Detective Sun about several trips he took with

Zhang from Los Angeles to Houston. The couple would rent a car and transport large sums of

cash—$4,000 to $8,000 per trip—concealed in the vehicle doors. These so-called “money trips”

were made for Tat Hi Chan, a high-level ecstacy dealer. Defendant also told the officers that he

would buy ecstacy at Los Angeles night clubs for Chan, who would give him pills at no charge.

Although he did not admit to owning or having an interest in the drugs found in the wrecked

Lexus, defendant claimed to know to whom they belonged. Defendant told the officers that he

called co-defendant Bo Feng after Zhang wrecked the Lexus, but Feng had shut off his phone.

Feng’s partner, Kwan Lap Yu, told defendant that Yu was at the same level of drug dealing as

Feng and that Feng went into hiding after the arrest of Zhang and Chen. Yu told defendant that

Feng was working for individuals who supplied drugs to Feng, who then used Zhang and Chen

to transport the drugs that were confiscated from the wrecked Lexus. Defendant also told the

officers that Feng was known as a grower of marijuana and showed defendant how to grow

marijuana.

       Detective Sun testified that the interview lasted approximately 3 to 4 hours. Defendant

never asked to stop the interview, except to take a bathroom break and several smoke breaks.

The officers brought defendant some food from the vending machines when he told them he was

hungry. Towards the end of the interview, defendant appeared to back-track, and asked the

officers to “give [him] a weekend.” The interview then ended at approximately midnight on

Friday night. Defendant appeared before the Federal Magistrate the following Monday morning.


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        Detective Don Barfield of the Los Angeles Police Department Narcotics Intelligence

Task Force also participated in the interview with defendant. Detective Barfield testified that he

arrived at the DEA office at approximately 6:00 p.m., where he met with ICE Agent Mann, who

had arrested defendant aboard the airplane. Detective Barfield testified that he would feed

questions to Detective Sun to ask defendant in Mandarin. He testified that defendant suffered no

threats or mistreatment, and that he was treated professionally and provided with food and smoke

breaks. Defendant never appeared afraid or tired; he was inquisitive about why he was there and

was curious, alert and focused. Detective Barfield took notes during the interview.

        Discussion

        The government bears the burden of showing, by a preponderance of the evidence, that a

confession is voluntary.2 A confession is only involuntary when “the police use coercive activity

to undermine the suspect’s ability to exercise his free will.”3 A determination of voluntariness of

a defendant’s statement is made after examining several factors including: (1) the defendant’s

age, education and intelligence; (2) the length of the detention and interrogation; (3) the length

and nature of the questioning; (4) whether the defendant was advised of his constitutional rights;

and (5) whether the defendant was subjected to or threatened with any physical punishment.4

Under 18 U.S.C. § 3501(b), the following factors are also relevant to a determination of


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         United States v. Lopez, 437 F.3d 1059, 1063 (10th Cir. 2006) (citing Missouri v. Seibert, 542 U.S. 600, 608
n.1 (2004)).
        3
         United States v. Lugo, 170 F.3d 996, 1004 (10th Cir. 1999) (quoting United States v. Erving L., 147 F.3d
1240, 1249 (10th Cir. 1998)).
        4
          United States v. Glover, 104 F.3d 1570, 1579 (10th Cir. 1997) (citing Schneckloth v. Bustamonte, 412 U.S.
218, 226 (1973)).

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voluntariness of a confession: (1) the time elapsing between arrest and arraignment of the

defendant making the confession, if it was made after arrest and before arraignment; (2) whether

such defendant knew the nature of the offense with which he was charged or of which he was

suspected at the time of making the confession; (3) whether or not such defendant was advised or

knew that he was not required to make any statement and that any such statement could be used

against him; (4) whether or not such defendant had been advised prior to questioning of his right

to the assistance of counsel; and (5) whether or not such defendant was without the assistance of

counsel when questioned and when giving such confession. The determination of voluntariness

is based on the totality of the circumstances; no single factor is determinative.5 Coercive police

activity is a necessary predicate to a finding that a confession is not voluntary within the

meaning of the due process clause.6

        Defendant contends that his fatigue, unfamiliarity with Mandarin Chinese, and fear of the

police renders his confession involuntary. The Court disagrees. It appears that defendant is a

mature, educated man of at least average intelligence. The testimony of the detectives belies his

claim of excess fatigue, as defendant neither mentioned being overly tired, nor did he appear

fatigued to the detectives. Defendant was questioned for no more than four hours in a non-

hostile manner, without restraint and in a comfortable setting. Defendant appeared calm and was

able to express himself clearly. He did not indicate that he could not understand Mandarin and

never asked Detective Sun to speak in another dialect. Detective Sun had heard defendant

converse in Mandarin with Zhang in numerous phone calls. Defendant was advised of his


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         Schneckloth, 412 U.S. at 226.
       6
         See Colorado v. Connelly, 479 U.S. 157, 167 (1986); United States v. Thomas, Case No. 05-40087, 2005
WL 2989288, at *3 (D. Kan. Oct. 19, 2005).

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constitutional right to silence, in writing, prior to being questioned and he waived that right.

Although language barriers may inhibit a suspect’s ability to knowingly and intelligently waive

his Miranda rights, there is no indication that defendant did not understand his rights both read

to him and written in Mandarin.7 He was not threatened physically, nor was any mental coercion

applied. None of the factors used to determine voluntariness of a statement support suppression

of defendant’s confession.

          Likewise, the statutory factors set forth in § 3501 also support admission of defendant’s

confession. The time that elapsed between defendant’s arrest and his arraignment was not

unduly long, in light of the fact that defendant was arrested late on a Friday afternoon, that the

officers most likely could not have gotten defendant before a Magistrate before the close of

business that day, and that defendant made his first appearance the next business day. Defendant

was advised of the nature of the offense with which he was charged, and was specifically advised

that he had the right to not talk to agents as well as the right to counsel. Although defendant was

without counsel at the time of his confession, this was after he had waived such rights, and not

because counsel had been denied him.

          Given all the circumstances, the Court is convinced that defendant’s free will was not

subverted and that his confession was voluntary. Defendant’s motion to suppress is therefore

denied.

          IT IS THEREFORE ORDERED BY THE COURT that defendant’s motion to



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           See United States v. Bustillos-Munoz, 235 F.3d 505, 517 (10th Cir. 2000) (waiver knowing and intelligent
because imperfect translation into a language which defendant understood conveyed the substance of the rights
waived); United States v. Hernandez, 93 F.3d 1493, 1502 (10th Cir. 1996) (same); United States v. Hernandez, 913
F.2d 1506, 1510 (10th Cir. 1990) (acknowledging that language barriers may inhibit a suspect’s ability to knowingly
and intelligently waive his Miranda rights).

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suppress confession (Doc. 61) is DENIED.

      IT IS SO ORDERED.

      Dated this 19th day of September 2006.

                                                S/ Julie A. Robinson
                                               Julie A. Robinson
                                               United States District Judge




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